Case 17-32710-thf      Doc 33-2      Filed 05/10/19   Entered 05/10/19 10:46:47      Page 1 of
                                                1




                                   UNITED STATES BANKRUPTCY COURT
                                               FOR THE
                                    WESTERN DISTRICT OF KENTUCKY

     IN RE:                              )
                                         )
     ARVIN LEO WRIGHT                    )               CASE NO. 17-32710
           Debtor                        )               Chapter 7
     ____________________________________)

                  ORDER AUTHORIZING PAYMENT OF EXEMPTION
              Upon the motion of Wm. Stephen Reisz, trustee, and the Court being otherwise
     sufficiently advised, it is

              ORDERED that Trustee is authorized to pay debtor, Arvin Leo Wright,
     $10,800 for his exemption of his interest in 4101 Mason Woods Lane, Daviess County.




     Tendered By:
     Wm. Stephen Reisz, Trustee
     401 W. Main St., Ste. 1400
     Louisville, Kentucky 40202
     (502) 584-1000
